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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. Case No: 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL
/

Consent to Institute a Presentence Investigation and
Disclose the Report Before Conviction or Plea of Guilty

I, Matthew Frederic Bergwall, hereby consent to a pre-sentence investigation by the
probation officers of the United States District Courts. I understand and agree that the report
of the investigation will be disclosed to the District Judge and the attorney for the government,
as well as to me and my attorney, so that it may be considered by the District J udge in deciding
whether to accept a plea agreement that I have reached with the government.

I have read, or had read to me, the foregoing consent and fully understand it.

Dated: July 11, 2024 Wee

“ “Defendant

Dated: July 11, 2024 K 9 Pw

Counsel for Defendant

